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|N THE UN|TED STATES DISTR|CT COURT
FOR THE D|STR|CT OF COLORADO

Civii Action No. OQ~cv-OlSOt-REB-MJW

CASUAL DlNlNG DEEVELOPMENT, |NC.
Plaintiff,

v.

QFA ROYALT|ES L ._C,

Defendant.

 

ST|PULATED PROTECT|VE ORDER

 

Upon a showing of good cause in support of the entry of a protective order to
protect the discovery and dissemination of confidential information or information which
will improperly annoyl embarrass, or oppress any party, witness, or person providing
discovery in this case, l'l' lS ORDERED:

1. This li'rotective Order shall apply to all documentsl materials, and
information, incluc ing without |imitation, documents produced, answers to
interrogatories, rest onses to requests for admission, deposition testimony, and other
information disclose :l or produced in the above captioned legal proceeding.

2. As uses-d in this Protective Order, “document" is defined as provided in
Fed. R. Civ. P. 34(zi). A draft or non-identical copy is a separate document within the
meaning of this terrr.

3. information designated “CONF|DENT|AL” shall be information that is

confidential and implicates common law and statutory privacy interests of (a) current or

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former employees, aigents, and representatives of the parties, and (b) current or former
Quizno's Area Dire(tors and franchisees CONF|DENTIAL information may also include
documents and infcrmation containing trade secret or confidential information the public
disclosure of which could injure the producing party's business or other valid interests.
CONF|DENTlAL in'i:)rmation shall not be disclosed or used for any purpose except the
preparation and trial of this case.

4. CONl-'IDENTIAL documents, materials, and/or information (collectively
“CONFlDENTlAL iriformation") shall notl without the consent of the party producing it or
further Order of the Court, be disclosed except that such information may be disclosed
to:

(a) attorneys actively working on this case;

(b) persons regularly employed or associated with the attorneys
actively wor-:ing on the case whose assistance is required by said attorneys in
the preparation for trial, at trial, or at other proceedings in this case;

(c) the parties;

(d) expert witnesses and consultants retained in connection with this
proceeding. to the extent such disclosure is necessary for preparation, trial or
other proce¢z.~dings in this case;

(e) the Court and its employees (“Court Personnei”);

(f) stenographic reporters who are engaged in proceedings
necessarily incident to the conduct of this action;

(g) deponents, witnesses, or potential witnesses; and

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(h) other persons by written agreement of the parties.

5. Prior 10 disclosing any CONFIDENT|AL information to any person listed
above (other than counsel, persons employed by counsell Court Personnel and
stenographic report a:rs), counsel shall provide such person with a copy of this Protective
Order and obtain frc m such person a written acknowledgment stating that he or she has
read this Protective Order and agrees to be bound by its provisions Ali such
acknowledgments s'\all be retained by counsel and shall be subject to in camera review
by the Court if good cause for review is demonstrated by opposing counsel

6. Docunients are designated as CONF|DENT|AL by placing or afoing on
them (in a manner that will not interfere with their legibi|ity) the following or other
appropriate notice: 'CONF|DENT|AL."

7. Whenr=ver a deposition involves the disclosure of CONFlDENT|AL
information, the deposition or portions thereof shall be designated as CONF|DENT|AL
and shall be subjec‘ to the provisions of this Protective Order. Such designation shall
be made on the record during the deposition whenever possib|e, but a party may
designate portions of depositions as CONF|DENT|AL after transcription, provided
written notice of the designation is promptly given to all counsel of record within thirty
(30) days after notice by the court reporter of the completion of the transcriptl

8. A parly may object to the designation of particular CONFIDENTIAL
information by givin ;i written notice to the party designating the disputed information.
The written notice s'\ali identify the information to which the objection is made. if the

parties cannot resolve the objection within thirty (30) days after the time the notice is

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received, it shall be the obligation of the party designatin the information as
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CONF|DENT|AL tc Hle an appropriate motion/(requesting that the Court determine '7, z__
whether the disputed information should be subject to the terms of this Protective Order. :;':_;
if such a motion is timely nied, the disputed information shall be treated as
CONFIDENT|AL ur der the terms of this Protective Order until the Court rules on the
motion. if the designating party fails to file such a motion within the prescribed time, the
disputed informaticn shall lose its designation as CONF|DENT|AL and shali not
thereafter be treated as CONF|DENT|AL in accordance with this Protective Order. ln
connection with a notion filed under this provision, the party designating the information
as CONF|DENT|AL shall bear the burden of establishing that good cause exists for the
disputed informatio'i to be treated as CONF|DENT|AL in the event that a party
inadvertently fails t~:i designate any information as CONF|DENT|AL, then such party
may later designate it as such, with such confidentiality applying from that point on,
subject to the right cf the other party to object to the designation under this paragraph.

9. At the conclusion of this case, unless other arrangements are agreed
upon, each document and ali copies thereof which have been designated as
CONF|DENT|AL shall be returned to the party that designated it CONFIDENTIAL, or the
parties may elect to destroy CONF|DENT|AL documents Where the parties agree to
destroy CONF|DENT|AL documents, the destroying party shall provide all parties with
an affidavit confirming the destruction

10. This P 'otective Order may be modified by the Court at any time for good

cause shown following notice to all parties and an opportunity for them to be heard.

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MICHAEL J. WATANABE
U. S. MAGISTRATE JUDGE

 

 

sTiPuLATED ANr APPRovED BY: DISTRICT OF COI--(»`JRADO

s/ Eidon E. Siiverman s/ Leonard H. MacPhee

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